                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                    )
                                            )
v.                                          )        NO. 3:14-00090
                                            )        JUDGE CAMPBELL
ERIC WILLIAMS                               )


                                            ORDER


       The Court is in receipt of a pro se Motion for Ineffective Assistance of Counsel (Docket

No. 656). The Court held a hearing on the Motion on May 27, 2015, wherein Defendant

Williams withdrew the Motion.

       The jury trial remains scheduled for December 1, 2015, at 9:00 a.m.; the pretrial

conference remains scheduled for November 16, 2015 at 9:00 a.m.; and any change of plea

hearing is scheduled for November 13, 2015, at 9:00 a.m. (Docket No. 620).

       IT IS SO ORDERED.



                                                     __________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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